     Case: 1:18-cv-02786 Document #: 6 Filed: 04/25/18 Page 1 of 16 PageID #:74



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS


SYMBOLOGY INNOVATIONS LLC                         §
                                                  §
       Plaintiff,                                 §   CIVIL ACTION NO. 2018-cv-2786
                                                  §
       v.                                         §   JURY TRIAL DEMANDED
                                                  §
WATER SPORTS, LLC                                 §
                                                  §
                                                  §
       Defendant.                                 §


            FIRST AMENDED COMPLAINT FOR INFRINGEMENT OF PATENT

       COMES NOW, Plaintiff Symbology Innovations LLC (“Symbology” or Plaintiff), through

the undersigned attorneys, and respectfully alleges, states, and prays as follows:

                                  NATURE OF THE ACTION

       1.      This is an action for patent infringement under the Patent Laws of the United States,

Title 35 United States Code (“U.S.C.”) to prevent and enjoin defendant Water Sports, LLC,

(hereinafter “Defendant”), from infringing and profiting, in an illegal and unauthorized manner

and without authorization and/or of the consent from Symbology, from U.S. Patent Nos. 8,424,752

(the “‘752 patent”, attached hereto as Exhibits A); 8,651,369 (the “‘369 patent”, attached hereto

as Exhibits B); and 8,936,190 (the “‘190 patent”, attached hereto as Exhibits C) (collectively the

“Patents-In-Suit”) pursuant to 35 U.S.C. § 271, and to recover damages, attorney’s fees, and costs.

                                         THE PARTIES

       2.      Plaintiff Symbology is a Texas company with its principal place of business at 1400

Preston Road, Suite 400, Plano, TX 75093.




                                                 1
      Case: 1:18-cv-02786 Document #: 6 Filed: 04/25/18 Page 2 of 16 PageID #:75




        3.     Upon information and belief, Defendant is a corporation organized under the laws

of Illinois, having a principal place of business at 501 Airport Road, North Aurora, IL 60542. Upon

information and belief, Defendant may be served with process at the same address.

                                  JURISDICTION AND VENUE

        4.     The Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§§1331 and 1338(a) because the action arises under the Patent Laws of the United States, 35 U.S.C.

§§ 1 et seq.

        5.     This Court has personal jurisdiction over Defendant by virtue of its systematic and

continuous contacts with this jurisdiction as well as because of the injury to Symbology, and the

cause of action Symbology has risen, as alleged herein.

        6.     Defendant is subject to this Court’s specific and general personal jurisdiction

pursuant to due process and/or the Illinois Long Arm Statute, due at least to its substantial business

in this forum, including: (i) at least a portion of the infringements alleged herein; and (ii) regularly

doing or soliciting business, engaging in other persistent courses of conduct, and/or deriving

substantial revenue from goods and services provided to individuals in Illinois and in this judicial

district.

        7.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1400(b) because

Defendant resides in this District, and/or has committed acts of infringement and has a regular and

established place of business in this District.

                                   FACTUAL ALLEGATIONS

                                                  ‘752 patent




                                                   2
     Case: 1:18-cv-02786 Document #: 6 Filed: 04/25/18 Page 3 of 16 PageID #:76




       8.       On April 23, 2013, the United States Patent and Trademark Office (“USPTO”) duly

and legally issued the ‘752 patent, titled “System and method for presenting information about an

object on a portable electronic device” after a full and fair examination.

       9.       Symbology is presently the owner of the patent, having received all right, title and

interest in and to the ‘752 patent from the previous assignee of record. Symbology possesses all

rights of recovery under the ‘752 patent, including the exclusive right to recover for past

infringement.

       10.      The ‘752 patent contains three independent claims and twenty-five dependent

claims. Defendant uses, inter alia, methods that perform all the steps recited in at least one claim

of the ‘752 patent.

       11.      The invention claimed in the ‘752 patent comprises a method for enabling a

portable electronic device to retrieve information about an object when the object’s symbology, is

detected.

                                                ‘369 patent

       12.      On February 18, 2014, the United States Patent and Trademark Office (“USPTO”)

duly and legally issued the ‘369 patent, titled “System and method for presenting information about

an object on a portable electronic device” after a full and fair examination.

       13.      Symbology is presently the owner of the patent, having received all right, title and

interest in and to the ‘369 patent from the previous assignee of record. Symbology possesses all

rights of recovery under the ‘369 patent, including the exclusive right to recover for past

infringement.




                                                 3
     Case: 1:18-cv-02786 Document #: 6 Filed: 04/25/18 Page 4 of 16 PageID #:77




       14.      The ‘369 patent contains three independent claims and twenty-five dependent

claims. Defendant uses, inter alia, methods that perform all the steps recited in at least one claim

of the ‘369 patent.

       15.      The invention claimed in the ‘369 patent comprises a method for enabling a

portable electronic device to retrieve information about an object when the object’s symbology, is

detected.

                                                ‘190 patent

       16.      On January 20, 2015, the United States Patent and Trademark Office (“USPTO”)

duly and legally issued the ‘190 patent, titled “System and method for presenting information about

an object on a portable electronic device” after a full and fair examination.

       17.      Symbology is presently the owner of the patent, having received all right, title and

interest in and to the ‘190 patent from the previous assignee of record. Symbology possesses all

rights of recovery under the ‘190 patent, including the exclusive right to recover for past

infringement.

       18.      The ‘190 patent contains three independent claims and seventeen dependent claims.

Defendant uses, inter alia, methods that perform all the steps recited in at least one claim of the

‘190 patent.

       19.      The invention claimed in the ‘190 patent comprises a method for enabling a

portable electronic device to retrieve information about an object when the object’s symbology, is

detected.

                                         COUNT I
                              INFRINGEMENT OF THE ‘752 PATENT

       20.      Plaintiff realleges and incorporates by reference the allegations set forth in

paragraphs 1 to 19.

                                                 4
     Case: 1:18-cv-02786 Document #: 6 Filed: 04/25/18 Page 5 of 16 PageID #:78




       21.        In violation of 35 U.S.C. § 271, Defendant is now, and has been directly infringing

the ‘752 patent

       22.        Defendant has had knowledge of infringement of the ‘752 patent at least as of the

service of the present complaint.

       23.        On information and belief, Defendant has infringed and continues to infringe one

or more claims, including at least Claim 6, of the ‘752 patent by using and/or incorporating Quick

Response Codes (QR codes) into product packaging in a manner covered by one or more claims

of the ‘752 Patent. Defendant has infringed and continues to infringe the ‘752 Patent in violation

of 35 U.S.C. § 271.

       24.        On information and belief, Defendant has, at least through internal testing, used or

incorporated QR codes into product packaging, associating such QR codes with products and/or

services. One specific example of Defendant’s activity involves the use of QR codes on product

packaging associated with Defendant’s products/services.

       25.        For example, on information and belief, Defendant has at least internally tested the

functionality of its QR codes in connection with product packaging. On information and belief,

Defendant has captured a digital image of a QR code associated with its product packaging, an

example of which is shown below.




                                                   5
     Case: 1:18-cv-02786 Document #: 6 Filed: 04/25/18 Page 6 of 16 PageID #:79




       26.    On information and belief, at least through internal testing, Defendant has used a

digital image capturing device of a portable electronic device, such as the camera component of

a smart phone for example, to capture a digital image of the QR code associated with its

products/services and product packaging.

       27.    On information and belief, Defendant’s capture of the digital image is processed by

scanning technology loaded onto the portable electronic device. The scanning technology detects

symbology (for example, a pattern within the QR code) associated with an object (for example,

the product or service associated with the QR code). On information and belief, the scanning

technology is used to decode the symbology to obtain a decode string. The decode string is sent

to a remote server for further processing. Based on the decode string, the remote server sends

information associated with the QR code, which is received by the user of the portable electronic

device and displayed on a display associated with the portable electronic device.

       28.    For example, if a user scans a QR code associated with Defendant’s product

packaging, scanning technology decodes the pattern of the QR code to obtain a decode string and

                                               6
     Case: 1:18-cv-02786 Document #: 6 Filed: 04/25/18 Page 7 of 16 PageID #:80




sends the decode string to a remote server. The server returns information associated with the QR

code. In this example, the information received by the user and displayed on the portable electronic

device is information related to Defendant’s products/services, and includes a website providing

additional information about the product/service as shown below.




       29.       On information and belief, Defendant, at least during internal use and testing, uses

a visual detection system (e.g., a smartphone camera and QR code scanning application) that is

configured to alert the user when an image containing symbology has been detected (e.g., once the

QR code is scanned the user receives notification asking user whether to open Defendant’s

website).

       30.       By engaging in the conduct described herein, Defendant has injured Symbology

and is thus liable for infringement of the ‘752 patent, pursuant to 35 U.S.C. § 271.

       31.       Defendant has committed these acts of infringement without license or

authorization.

                                                  7
     Case: 1:18-cv-02786 Document #: 6 Filed: 04/25/18 Page 8 of 16 PageID #:81




       32.     As a result of Defendant’s infringement of the ‘752 patent, Symbology has suffered

monetary damages and is entitled to a monetary judgment in an amount adequate to compensate

for Defendant’s past infringement, together with interests and costs.

       33.     Symbology will continue to suffer damages in the future unless Defendant’s

infringing activities are enjoined by this Court. As such, Symbology is entitled to compensation

for any continuing and/or future infringement up until the date that Defendant is finally and

permanently enjoined from further infringement.

                                           COUNT II
                                 INFRINGEMENT OF THE ‘369 PATENT

       34.     Plaintiff realleges and incorporates by reference the allegations set forth in

paragraphs 1 to 33.

       35.         In violation of 35 U.S.C. § 271, Defendant is now, and has been directly infringing

the ‘369 patent.

       36.     Defendant has had knowledge of infringement of the ‘369 patent at least as of the

service of the present complaint.

       37.     On information and belief, Defendant has infringed and continues to infringe one

or more claims, including at least Claim 6, of the ‘369 Patent by using and/or incorporating QR

codes into product packaging in a manner covered by one or more claims of the ‘369 Patent.

Defendant has infringed and continues to infringe the ‘369 Patent in violation of 35 U.S.C. § 271.

       38.     On information and belief, Defendant has, at least through internal testing, used or

incorporated QR codes into its product packaging, associating such QR codes with products and/or

services. One specific example of Defendant’s activity involves the use of QR codes on product

packaging associated with Defendant’s products/services.




                                                   8
     Case: 1:18-cv-02786 Document #: 6 Filed: 04/25/18 Page 9 of 16 PageID #:82




       39.    For example, on information and belief, Defendant has at least internally tested the

functionality of its QR codes in connection with product packaging. On information and belief,

Defendant has captured a digital image of a QR code associated with its product packaging, an

example of which is shown below.




       40.    On information and belief, at least through internal testing, Defendant has used a

digital image capturing device of a portable electronic device, such as the camera component of a

smart phone for example, to capture a digital image of the QR code associated with its

products/services and product packaging.

       41.    On information and belief, Defendant’s capture of the digital image is processed by

scanning technology loaded onto the portable electronic device. The scanning technology detects

symbology (for example, a pattern within the QR code) associated with an object (for example,

the products or service associated with the QR code). On information and belief, the scanning

technology is used to decode the symbology to obtain a decode string. The decode string is sent

to a remote server for further processing. Based on the decode string, the remote server sends

                                               9
    Case: 1:18-cv-02786 Document #: 6 Filed: 04/25/18 Page 10 of 16 PageID #:83




information associated with the QR code, which is received by the user of the portable electronic

device and displayed on a display associated with the portable electronic device.

       42.     For example, if a user scans a QR code associated with Defendant’s product

packaging, scanning technology decodes the pattern of the QR code to obtain a decode string and

sends the decode string to a remote server. The server returns information associated with the QR

code. In this example, the information received by the user and displayed on the portable electronic

device is information about Defendant’s products/services, and includes a website providing

additional information related to the product/service as shown below.




       43.     On information and belief, Defendant, at least during internal use and testing, uses

a visual detection system (e.g., a smartphone camera and QR code scanning application) that is

configured to alert the user when an image containing symbology has been detected (e.g., once the

QR code is scanned the user receives notification asking user whether to open Defendant’s

website).

                                                10
    Case: 1:18-cv-02786 Document #: 6 Filed: 04/25/18 Page 11 of 16 PageID #:84




       44.       By engaging in the conduct described herein, Defendant has injured Symbology

and is thus liable for infringement of the ‘369 patent, pursuant to 35 U.S.C. § 271.

       45.       Defendant has committed these acts of infringement without license or

authorization.

       46.       As a result of Defendant’s infringement of the ‘369 patent, Symbology has suffered

monetary damages and is entitled to a monetary judgment in an amount adequate to compensate

for Defendant’s past infringement, together with interests and costs.

       47.       Symbology will continue to suffer damages in the future unless Defendant’s

infringing activities are enjoined by this Court. As such, Symbology is entitled to compensation

for any continuing and/or future infringement up until the date that Defendant is finally and

permanently enjoined from further infringement.

                                           COUNT III
                                 INFRINGEMENT OF THE ‘190 PATENT


       48.       Plaintiff realleges and incorporates by reference the allegations set forth in

paragraphs 1 to 47.

       49.         In violation of 35 U.S.C. § 271, Defendant is now, and has been directly infringing

the ‘190 patent.

       50.       Defendant has had knowledge of infringement of the ‘190 patent at least as of the

service of the present complaint.

       51.       On information and belief, Defendant has infringed and continues to infringe one

or more claims, including at least Claim 6, of the ‘190 Patent by using and/or incorporating QR

codes into product packaging in a manner covered by one or more claims of the ‘190 Patent.

Defendant has infringed and continues to infringe the ‘190 Patent in violation of 35 U.S.C. § 271.



                                                   11
    Case: 1:18-cv-02786 Document #: 6 Filed: 04/25/18 Page 12 of 16 PageID #:85




       52.    On information and belief, Defendant has, at least through internal testing, used or

incorporated QR codes into product packaging, associating such QR codes with products and/or

services. One specific example of Defendant’s activity involves the use of QR codes on product

packaging associated with Defendant’s products/services.

       53.    For example, on information and belief, Defendant has at least internally tested the

functionality of its QR codes in connection with product packaging. On information and belief,

Defendant has captured a digital image of a QR code associated with its product packaging, an

example of which is shown below.




       54.    On information and belief, at least through internal testing, Defendant has used a

digital image capturing device of a portable electronic device, such as the camera component of a

smart phone for example, to capture a digital image of the QR code associated with its

products/services and product packaging.

       55.    On information and belief, Defendant’s capture of the digital image is processed by

scanning technology loaded onto the portable electronic device. The scanning technology detects

                                               12
    Case: 1:18-cv-02786 Document #: 6 Filed: 04/25/18 Page 13 of 16 PageID #:86




symbology (for example, a pattern within the QR code) associated with an object (for example,

the products or service associated with the QR code). On information and belief, the scanning

technology is used to decode the symbology to obtain a decode string. The decode string is sent

to a remote server for further processing. Based on the decode string, the remote server sends

information associated with the QR code, which is received by the user of the portable electronic

device and displayed on a display associated with the portable electronic device.

       56.     For example, if a user scans a QR code associated with Defendant’s product

packaging, scanning technology decodes the pattern of the QR code to obtain a decode string and

sends the decode string to a remote server. The server returns information associated with the QR

code. In this example, the information received by the user and displayed on the portable electronic

device is information about Defendant’s products/services, and includes a website providing

additional information related to the product/service as shown below.




                                                13
    Case: 1:18-cv-02786 Document #: 6 Filed: 04/25/18 Page 14 of 16 PageID #:87




       57.       On information and belief, Defendant, at least during internal use and testing, uses

a visual detection system (e.g., a smartphone camera and QR code scanning application) that is

configured to alert the user when an image containing symbology has been detected (e.g., once the

QR code is scanned the user receives notification asking user whether to open Defendant’s

website).

       58.       By engaging in the conduct described herein, Defendant has injured Symbology

and is thus liable for infringement of the ‘190 patent, pursuant to 35 U.S.C. § 271.

       59.       Defendant has committed these acts of infringement without license or

authorization.

       60.       As a result of Defendant’s infringement of the ‘190 patent, Symbology has suffered

monetary damages and is entitled to a monetary judgment in an amount adequate to compensate

for Defendant’s past infringement, together with interests and costs.

       61.       Symbology will continue to suffer damages in the future unless Defendant’s

infringing activities are enjoined by this Court. As such, Symbology is entitled to compensation

for any continuing and/or future infringement up until the date that Defendant is finally and

permanently enjoined from further infringement.

                                      DEMAND FOR JURY TRIAL

   62. Symbology demands a trial by jury of any and all causes of action.

                                      PRAYER FOR RELIEF

       WHEREFORE, Symbology prays for the following relief:

       a.        That Defendant be adjudged to have directly infringed the Patents-In-Suit either

literally or under the doctrine of equivalents;




                                                  14
    Case: 1:18-cv-02786 Document #: 6 Filed: 04/25/18 Page 15 of 16 PageID #:88




          b.   That Defendant, its officers, directors, agents, servants, employees, attorneys,

affiliates, divisions, branches, parents, and those persons in active concert or participation with

any of them, be permanently restrained and enjoined from directly infringing the Patents-In-Suit;

          c.   An award of damages pursuant to 35 U.S.C. §284 sufficient to compensate

Symbology for the Defendant’s past infringement and any continuing or future infringement up

until the date that Defendant is finally and permanently enjoined from further infringement,

including compensatory damages;

          d.   An assessment of pre-judgment and post-judgment interest and costs against

Defendant, together with an award of such interest and costs, in accordance with 35 U.S.C. §284;

          e.   That Defendant be directed to pay enhanced damages, including Symbology’s

attorneys’ fees incurred in connection with this lawsuit pursuant to 35 U.S.C. §285; and

          f.   That Symbology have such other and further relief as this Court may deem just and

proper.

 Dated: April 25, 2018                         Respectfully Submitted,

                                               By: /s/ Frank Andreou
                                               Andreou & Casson, Ltd.
                                               661 West Lake Street
                                               Suite 2 North
                                               Chicago, Illinois 60661-1034
                                               Tel (312) 935-2000
                                               Fax (312) 935-2001

                                               By: /s/Eugenio J. Torres-Oyola
                                               Eugenio J. Torres-Oyola
                                               USDC No. 215505
                                               Ferraiuoli LLC
                                               221 Plaza, 5th Floor
                                               221 Ponce de León Avenue
                                               San Juan, PR 00917
                                               Telephone: (787) 766-7000
                                               Facsimile: (787) 766-7001

                                                15
Case: 1:18-cv-02786 Document #: 6 Filed: 04/25/18 Page 16 of 16 PageID #:89




                                    Email: etorres@ferraiuoli.com

                                    Jean G. Vidal Font
                                    USDC No. 227811
                                    Ferraiuoli LLC
                                    221 Plaza, 5th Floor
                                    221 Ponce de León Avenue
                                    San Juan, PR 00917
                                    Telephone: (787) 766-7000
                                    Facsimile: (787) 766-7001
                                    Email: jvidal@ferraiuoli.com

                                    ATTORNEYS FOR PLAINTIFF
                                    SYMBOLOGY INNOVATIONS LLC




                                    16
